AO 245B (Rev.Case     3:20-cr-03012-WVG
              05/15/2018)                                Document
                          Judgment in a Criminal Petty Case (Modified)   25 Filed 11/06/20 PageID.36 Page 1 of 1                          Page 1 of!



                                  UNITED STATES DISTRICT COURT
                                             SOUTHERN DISTRICT OF CALIFORNIA

                    United States of America                                      JUDGMENT IN A CRIMINAL CASE
                                    V.                                            (For Offenses Committed On or After November 1, 1987)



                     Angel Hernandez-Ruiz                                         Case Number: 20-cr-03012-WVG

                                                                                  Samantha B. Jaffe
                                                                                  Defendant's Attorney


REGISTRATION NO. 94976298

THE DEFENDANT:
 [ls] pleaded guilty to count(s) 1 of Superseding Information
 •    was found guilty to count( s)
      after a plea of not guilty.
      Accordingly, the defendant is adjudged guilty of such count(s), which involve the following offense(s):

Title & Section                  Nature of Offense                                                                  Count Number(s)
8:1325(a)(l)                     Improper Attempted Entry by an Alien (Misdemeanor)                                 ls

 •    The defendant has been found not guilty on count(s)
                                                                            -------------------
 181 Count(s)       1 of Underlying Information is                             dismissed on the motion of the United States.

                                            IMPRISONMENT
       The defendant is hereby committed to the custody of the United States Bureau of Prisons to be
imprisoned for a term of:
                                                Time Served


  llsl Assessment: $10 WAIVED        181 Fine: WAIVED
181 Court recommends USMS, ICE or DHS or other arresting agency return all property and all documents in
the defendant's possession at the time of arrest upon their deportation or removal.
•     Court recommends defendant be deported/removed with relative,                  charged in case _ _ .
       IT IS ORDERED that the defendant shall notify the United States Attorney for this district within 30 days
of any change of name, residence, or mailing address until all fines, restitution, costs, and special assessments
imposed by this judgment are fully paid. If ordered to pay restitution, the defendant shall notify the court and
United States Attorney of any material change in the defendant's economic circumstances.

                                                                                November 5, 2020
                                                                                Date of Imposition of Sentence

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                     SOUTKEHN 'IS.,.H!CT OF CtlLIFOf/Nli~
                     BY                            DEPUTY
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                                                                                UNITED STATES MAGISTRATE JUDGE



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